Case 23-00050 Doci Filed 03/06/23 Entered 03/06/23 15:36:24 Desc Main
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IN THE UNITED STATES BANKRUPTCY COURT,
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN RE: Valerie Frances Tolson, Chapter 13

Pro Se

FidbBkE bp . 18-13351
UNITED STATES BANKRUPTCY COURT Case No. I
NORTHERN DISTRICT OF ILLINOIS

MAR 06 2023

JEFFREY P, ALLSTEADT, CLERs
INTAKE 1

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)} Adversary Proceeding Number
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Judge: Jacqueline P. Cox

PRO SE’ DEBTOR’S ADVERSARY COMPLAINT
TO REMOVE STUDENT LOAN CREDITORS FROM CHAPTER 13 PLAN

Now comes Valerie Tolson, Pro Se’ Debtor in the above entitled case and moves this
Honorable Court remove all claims for student loan debt and servicers of said debt, Naviant
Solutions, Illinois State Assistance Commission, Ascendium Education Solutions,

and Education Credit Management Corporation (ECMC) from Pro Se Debtor’s Chapter 13 Plan
and in support thereof states as follows:

1. That Debtor filed for Chapter 13 relief on May 7, 2018.

2. The 60 month plan was confirmed on November 19, 2018.

3. That Debtor has attended all court proceedings that she has been made aware.
4. That all Plan payments are current (58 of 60 as of March 6, 2023).

5. That Debtor attended Keller Graduate School of Management, and secured student loan
debt through the Federal Family Education Loan Program, or FFELP, to cover the cost of |
attendance.

6. That Debtor submitted a Borrower Defense to Repayment discharge application relating to
student loans on or before June 22, 2022, and attended a school listed on the attached list
of schools “A Guide To The Sweet Settlement” as part of the settlement agreement
documents.

7, That Debtor is a member of the “automatic discharge” group, in the Sweet v. Cardona, No.
3:19-cv-3674 (N_D. Cal.) and is eligible for settlement relief, as ordered in the February 25,
2023 ruling by Judge William Alsup, and as confirmed in the attached February 28, 2023
Email from the U.S. Department of Education.
8.

10.

11.

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SAN FRANCISCO [February 25, 2023] — Late last night, Judge William Alsup denied
the motion to stay implementation of settlement relief in the borrower defense

lawsuit Sweet v. Cardona. With this order, full settlement relief granted to class members
may now proceed... .

Based on the ruling, the approved settlement would automatically cancel more than $6 billion in
federal student loans for over 200,000 class members ... where the Department of Education
will:

a. Discharge debtor’s federal student loans taken out for enrollment in the Keller
Graduate School of Management (“Relevant Federal Student Loan(s)”);

b. Provide a refund for any payments made to the Department of Education on
Debtor’s Relevant Federal Student Loan(s), including Relevant Federal Student
Loan debt that was previously paid off; and

c. Delete the credit report tradeline associated with the discharged loan(s)

Furthermore, Navient appears on Debtors list of claims, but is reporting a $0.00 balance at
the Naviant Account Summary (see attached), which was confirmed by phone (888-272-
5543). The loans were paid off by the Illinois Student Assistance Commission (ISAC - 800-
899-4722) on 10/02/2018 (see attached).

The Illinois Student Assistance Commission (ISAC) no longer has the student loan records,
nor the system to manage student loans., having transferred the student loan function to the
Education Credit Management Corp (ECMC - 800-367-1589). ECMC appears as unsecured
debt on Pro Se Debtor’s Chapter 13 Plan. Ascedium is listed as a servicer at Debtor’s
My. Aid website profile.

Because Naviant and ISAC are no longer reporting a'’balance in any accounts for Debtor,
Debtor is requesting this court remove, Naviant and Illinois Student Assistance Commission
from Debtor’s plan, and remove E.C.M.C., as a result of the findings in the Sweet vs.
Cardona law suit.

12. That all creditors and parties in interest have been provided with notice of this complaint.

WHEREFORE, the Pro Se’ Debtor respectfully requests that this Honorable Court enter

an Order authorizing the removal of all claims related to student loan debt and for such other
relief as this court deems proper.

Respectfully submitted,
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Valerie Frances Tolson
Prepared by:
Valerie Frances Tolson, Pro Se’
5302 South Cornell, #2, Chicago, Tlinois, 60615
(773) 344-6850
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CERTIFICATE OF SERVICE

I certify that the debtor has caused a copy of this notice to be delivered to the parties listed on
the Mailing List below, by depositing it in the U.S. Mail as to those parties so designated to
receive notice by mailing at 211 South Clark, Chicago, Illinois, 60603 on March 6, 2023.

Navient
P.O. Box 9533
Wilkes-Barre, PA 18773-9533

Iilinois Student Assistance Corporation
500 West. Monroe, 3rd Floor
Springfield, IL 62704

E.C.M.C. — Education Credit Management Corporation
PO Box 16408
St. Paul, MM 55116-0408

Ascendium Education Solutions
PO Box 7859
Madison, WI. 53707

Respectfully submitted,

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4 meat

Valerie. Frances Tolson

Prepared by:

Valerie Frances Tolson, Pro Se
5302 South Cornell, #2
Chicago, Ulinois,
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Approval of Your Borrower Defense Case Under Exhibit C of the Sweet v. Cardona
Settlement

U.S. Department of Education <noreply@studentaid.gov>
Tue 2/28/2023 12:26 PM
To: vftolsoninc@msn.com <vftolsoninc@msn.com>

Click here to view this email as 2 web page.

et
o
ye

February 28, 2023

Borrower Defense Application #: 01445667
Borrower Defense Application School: Keller Graduate School of Management

‘Approval of Your Borrower Defense Case Under Exhibit C of the Sweet v.
Cardona Settlement

Dear Valerie:

You are receiving this letter because you are a member of the class of federal
student loan borrowers covered by the recent settlement of the Sweet v. Cardona
("Sweef’) lawsuit. You submitted a Borrower Defense to Repayment discharge
application relating to your federal student foan(s) on or before June 22, 2022,
and you attended a school listed on Exhibit C ("School") of the settlement
agreement.

Pursuant to the Sweet settlement, the Department of Education will do the
following:

e discharge your federal student loan(s) taken out for your enrollment in the
Keller Graduate School of Management ("Relevant Federal Student
Loan(s)");

e provide a refund for any payments made to the Department of Education on
your Relevant Federal Student Loan(s), including Relevant Federal Student
Loan debt that you previously paid off; and

e delete the credit report tradeline associated with the discharged loan(s).

The benefits described in this message apply to your Relevant Federal Student
Loan(s). The benefits do not apply to private loans. The discharge of your
Relevant Federal Student Loan(s) means that you will no longer owe the debt.

https://outlook.live.com/mail/0/id/AQMKADAWATIWMTAWACOWM/YZLT...idez|/pQqtgAAAgEMAAAArrbLyPwDHOGoi0ez|pQqtgaAGPFcSzAAAAAK3D%3D Page 1 of 2
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You also may receive a refund for prior payments made to the Department on
your discharged loan(s) related to Keller Graduate School of Management. Your
loan servicer will let you know if you are eligible for a payment refund, which
would be mailed to you. Please check your online account with your loan servicer
to ensure your address is correct so you can receive any refund.

Other than confirming your address, you do not have to take any further
action to receive your discharge. Your servicer will send you more details about
the discharge, including which loans will be forgiven. Your Relevant Federal
Student Loan debt will remain in forbearance and collections will be stopped until
you receive relief. Your credit report will also be updated to reflect this discharge
when it is complete. . .

lf you have questions about this notice, please call our borrower defense hotline
at 1-855-279-6207 from 8:00-8:00 ET on Monday-Friday or from 11:00-5:00 ET on
Saturday or Sunday.

Sincerely,

Richard Cordray
Chief Operating Officer
Federal Student Aid

Federal:

Ag OFFICE of the U.S, DEPARTMENT of EQUC ATION

830 First Street, NE, Washington, D.C. 20002
StudentAid.gov/borrower-defense

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A GUIDE TO Rogypens wPege FOSETTLEMENT

Al Collins Graphic Design School
All-State Career School .

. Altentown Business School
American Career College -
American Career Institute

Americar College for Medical Careers

American Commercial College

Arnerican InterContinental University
Aunerican National University
American University of the Caribbean
Anamarc College
Anthem College
Anthem tnstitute
Argosy University
Arizona Summit Law School

Art institte (The)

Ashford University
ATI Career Training Center

AT? College of Heaith
ATI Technical Training Center
Bauder College

Beckfieid College

Berkeley College

‘Blue Cliff College
Branford Hall Career institute

Briarcliffe College
Brightwood Career Institute
Brightvood College
Brooks College
Brooks Institute
Brown College
Brown fnatitute
Brown Mackie College
California College San Diego
California Culinary Acadeny
Catifornia School of Culinary Arts
Capella University
Career Point College

Carrington College

Center far Employment Training
. Chamberlain University

Charlotte School of Law

Chicago Schoo of Professional Psychology |. - Keller Graduate Schoot of saanagernent )

ColtegeAmerica
Callins College
_Catorado Technical University
Computer Systems institute
- Concorde Career College
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Cooking and Hospitality Institute of Chicago
. Court Reporting Institute
Court Reporting Institute of St Louts

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Devry Institute of Technology
DeVry University
Darsay College

Empire Beauty School
Everglades Universlty
FastTrain
Fiorida Career College
Florida Coastal School of Law
Florida Technical College
Fortis College

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Gibbs College
Globe University
Grand Canyor University
Gwinnett College
Hailmark institute of Photography
Harrington Callege of Design
Harris School of Business
Hingis Institute of Art (The}
Independence University
institute far Health Education (The}

international Academy of Design and
Technolagy

ITT Technical: Institute

Kaplan Career Institute

kaplan College ¢
Katharine Glbbs School

Keiser University

Kitchen Academy
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Le Cordon Bleu College of Culinary Arts
Le Cordon Bleu Institute of Culinary Arts
Lehigh Valley College
Lincoln College of Technology
Lincoin Technical Institute
Marinetlo Schoni of Beauty
McCann School of Business & Technology

Mcintosh Collage

Medtech College
Miami international University of Art & Design

Miami-Jacobs Career College
Micropower Career Institute
Miller Motte Business Coflege

Miller-Motte College
Milier-Motte Technica? Collage
Minnesota School of Business
Missouri College

Mount Washington Callege
National University Callege
New England College of Business and Finance
New England Institute of Art {The}
NUC University
Orlando Culinary Acadamy _
Pennsylvania Culinary Institute
Pittsburgh Career Institute
Purdue University Global
Radians Coltege
Remington College
Robert Flance Beauty Schoals
Robert Fiance Hair Design Institute

Robert Fiance Institute of Florida

Ross University Schoo! of Medicine

Ross University School of Veterinery Medicine

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- Sanford-Brown College
Sanford-Brown Institute
Schoot of Computer Technoingy
Scottsdale Culinary Institute
South University
Southern California School of Culinary Arts
Souther Technica! College
Star Career Academy
Stevens-Henager -
Suburban Techriical School
Sullivan and Cogliano Training Centers
Texas Culinary. Academy
Tucson College
Ultrasound Diagnostic Schools
United Education institute
University of Phoenix -
University of the Rockies ,

Valterolt College
Virginia College
Walden University
Washington Business School
Western Culinary Institute

Wester International University

Western School of Health and Business
Careers

Western State Universiiy College of Law
Wesbwood College
Wilfred Academy
Wilfred Academy of Beauty Culture
Wilfred Aceidemy of Hair & Beauty Culture

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Wright Career Cokege- .
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Navient | All Loan Details

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VALERIE TOLSON

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All Loan Details

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Repayment Options
1-07 Stafford - Subsidized 10/02/2018 Paid by ILLINOIS STUDENT ...
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f Tools & Requests 1-0 Stafford - Unsubsidized 40/02/2018 Paid by ILLINOIS STUDENT...
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Recent Payments
Date ~ Amount + Status + Coming From >

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B1840 WORM 1046) (12/15)
ADVERSARY PROCEEDING COVER SHEET. ADVERSARY PROCEEDING NUMBER
_ (instructions on Reverse) (Court Use Only)
PLAINTIFFS DEFENDANTS

VALERIE FRANCES TOLSON

Navient, ECMC (Ed. Credit Mgmt. Corp.) IL
Student Asst. Commission (ISAC)/Ascedium

ATTORNEYS (Firm Name, Address, and Telephone No.)
Valerie Toison, Pro Se

5302'S. Cornell, Unit 2, Chicago, IL 60615

ATTORNEYS (Ef Known)

PARTY (Check One Box Only)

PARTY (Check One Box Oniy)

& Debtor a US. Trusice/Bankruptey Admin O Debtor oO U.S. Tmstee/Bankruptcy Admin
o Creditor 2 Other & Creditor oO Other
mn Trastee a Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U:S. STATUTES INVOLVED)

Discharge of Relevant Federal Student loans taken

under the Sweet v. Cardona Settlement -

Borrower Defense Application #01445667 (Keller Graduate Schoo! of Management)

_NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as 1,

first alternative cause as 2, second alternative cause as 3, etc.) ©

FRBP 76010) — Recovery of Money/Property
11-Recovery of money/property - $542 tumover of property
LJ 12-Recovery of money/property - $547 preference
L] 13-Recovery of money/property - $548 fraudulent transtér
CJ 14.Recovery of money/property - other

FRBP 7601{2) ~ Validity, Priority or Extent of Lien
CT aw alidity, priority or extent of Hien or other inferest in property

FRBP 7001(3} — Approvat of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001 (4) — Objection/Revacation of Discharge
4] -Objection / revocation of discharge - §727(c),(d),(e)

FREP 7001(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
[7] 66-Dischargeability - §523(aX1).(14).(14) priority tax claims
C1 62-pi schargeability ~ §523(a}(2), false pretenses, false representation,
actual fraud
CJ 67-Di schargeability - §523(a\(4), trand as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

LJ 61-Dischargeability ~ §523(a}5}, domestic support

J 68-Dischargeability - $523(a}(6), willie! and malicious injury

63-Dischargeability - §523(a\8), student foan

CI 64-Dischargeability - $523(a)(15), divorce or separation obligation
{other than domestic support)

L} 65-Dischargeability - other

FRBP 7001(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
CJ 72-Injunctive relief ~ other

FRBP 7091(8) Subordination of Claim or interest
81-Subordination of claim or interest

FREP 7001(9) Declaratory Judgment
CJ 91 -Declaratory judgment

FRBP 7001018) Determination of Removed Action
01-Determination of removed claim or cause

Other

E] ss-sipa Case - 15 U.S.C. §§78aaa et. seg.

[J 02-Other (e.g. other actions that would have been bronght in state court
if warelated to bankruptcy case)

-

ci Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

a Check if a jury trial is demanded in complaint

Demand $200,515.88 scheduled; $4,010.31 Principal Owed.

Other Relief Sought
MORTHERN DISTRICT OF ILLINOIS

UNITED STATES maANKie Tc Daun

MAR 06 2023

JEFFREY P, ALLSTEADT, Cit
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B1040 (FORM 1040) (12/15)

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.
VALERIE FRANCES TOLSON 18-13351
DISTRICT IN WHICH CASE 18 PENDING DIVISION OFFICE NAME OF JUDGE
NORTHERN ILLINOIS EASTERN JACQUELINE COX
wo RELATED ADVERSARY PROCEEDING (IFANY): = oo
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
f f
Vibes é ha ’ fre Ie -
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)
March 6, 2023 Valerie Frances Tolson
INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankrupicy court which consists of
ali of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of couri needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first columm for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form, If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

